USCA4 Appeal: 24-1740      Doc: 9          Filed: 08/19/2024       Pg: 1 of 2



                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                            1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                              August 19, 2024

                                    ____________________________

                                  DOCKET CORRECTION NOTICE
                                  ____________________________

        No. 24-1740,     In re: David Stebbins
                         2:24-cv-00140

        TO:     David A. Stebbins

        CERTIFICATE DUE: August 22, 2024

        Under FRAP 21(a)(1), you must serve your petition for writ of mandamus on:

          [ x ] all parties to the action in the trial court

        Please serve your petition as indicated above and file the attached certificate of
        service with the court of appeals by the due date shown.

        Donna Lett, Deputy Clerk
        804-916-2704
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                                   ____________________________

                                     CERTIFICATE OF SERVICE
                                   ____________________________

        No. 24-1740,    In re: David Stebbins
                        2:24-cv-00140

        I certify that my petition for writ of mandamus / prohibition was served as follows:

        (provide date of service) _______________________

        (select manner of service) [   ] by mail; [   ] by commercial carrier; [   ] in person

        (provide name(s) and address(es) of trial court judge and/or parties served):


        _________________________________________________________

        _________________________________________________________

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        _______________________                                       _______________
        Signature                                                     Date
